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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Senior Judge R. Brooke Jackson

  Civil Action No. 1:20-cv-03691-RBJ-SKC

  MANUEL ALEJANDRO CAMACHO,

         Plaintiff,

  v.

  CORDOVA,
  BUEN,
  DIBIASI,
  SMITH, and
  CLEAR CREEK COUNTY SHERIFF’S OFFICE,

         Defendants.


       AMENDED ORDER SETTING TRIAL AND TRIAL PREPARATION CONFERENCE



          Due to a conflict on this Court’s calendar this case is RESET for a four-day Jury Trial

  to commence on April 3, 2023 at 9:00 a.m. on the docket of Judge R. Brooke Jackson U.S.

  District Courthouse, Courtroom A902, 9th Floor, 901 19th Street, Denver, Colorado.

         A Trial Preparation Conference is set for March 17, 2023 at 9:00 a.m. Pro se parties and

  lead Counsel should attend. The Plaintiff shall attend telephonically by dialing 1-888-204-5984

  and entering access code 7557338# when prompted.

         During the Trial Preparation Conference the parties should be prepared to address: jury

  instructions, jury selections, witnesses and evidence, anticipated evidentiary issues, stipulations

  as to fact, and any other issue affecting the duration or course of the trial. The parties are

  directed to confer prior to the Trial Preparation Conference to reach agreement on as many, if not

  all, of the proposed jury instructions. The proposed stipulated and disputed jury instructions
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  should be emailed to Jackson_chambers@cod.uscourts.gov at least one week in advance of the

  Trial Preparation Conference. Please submit a single integrated proposed set of instructions.

  They should be numbered and grouped with the same-subject disputed instructions together and

  indicate on each individual instruction if they are plaintiff’s or defendant’s proposal. Stipulated

  instructions should be individually labeled as such.

         For additional information, please review my practice standards located at

  http://www.cod.uscourts.gov/JudicialOfficers/ActiveArticleIIIJudges/HonRBrookeJackson.aspx

         DATED this 8th day of September, 2022.

                                                         BY THE COURT:




                                                         ___________________________________
                                                         R. Brooke Jackson
                                                         Senior United States District Judge
